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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

        REALTEK SEMICONDUCTOR
        CORPORATION,

                  Plaintiff,                                 C.A. No. 24-1235-GBW

        v.

        AVAGO TECHNOLOGIES
        INTERNATIONAL SALES PTE. LTD,
        BROADCOM CORP., and BROADCOM
        INC.,

                  Defendants.

                   PLAINTIFF REALTEK SEMICONDUCTOR CORPORATION’S
                               MOTION TO FILE UNDER SEAL

             Plaintiff Realtek Semiconductor Corporation (“Realtek”) respectfully moves this Court

    pursuant to Federal Rule of Civil Procedure 5.2 and Local Rule of Civil Practice and Procedure of

    the United States District Court for the District of Delaware 5.1.3 1 for entry of an order authorizing

    Realtek to file Plaintiff Realtek Semiconductor Corporation’s Opening Brief in Support of its

    Motion for Attorneys’ Fees and Declaration of Theodore J. Angelis in Support of Plaintiff Realtek

    Semiconductor Corporation’s Opening Brief in Support of its Motion for Attorneys’ Fees,

    including exhibits attached thereto.

                                             INTRODUCTION

             1.      The parties in this action previously moved to seal the prior motions they

    submitted to this Court because, among other things, they discuss and quote from confidential

    settlement and license documents between the parties and because they reveal other confidential


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  Local Rule of Civil Practice and Procedure of the United States District Court for the District of
Delaware 5.1.3 requires that documents placed under seal be filed in accordance with CM/ECF
procedures, which in turn requires that the authority for filing a document under seal be provided by a
protective order of the court.
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 information regarding Realtek’s relationship with one of its suppliers, and also include

 confidential and commercially sensitive information regarding Realtek’s counsel’s billing rates

 and time entries in this matter.

        2.      Realtek requests an order authorizing it to file the documents identified above under

 seal, as they contain confidential, non-public information.

                                        LEGAL STANDARD

        3.      Although there is a “presumptive right of public access to pretrial motions of a

 nondiscovery nature, whether preliminary or dispositive,” the right is “not absolute.” In re Avandia

 Marketing, 924 F.3d 662, 672 (3d Cir. 2019) (quoting In re Cendant Corp., 260 F.3d 183, 192–93

 (3d Cir. 2001) and Bank of Am. Nat’l Tr. & Sav. Ass’n v. Hotel Rittenhouse Assocs., 800 F.2d 339,

 344 (3d Cir. 1986)); see also Littlejohn v. Bic Corp., 851 F.2d 673, 677–78 (3d Cir. 1988). The

 movant overcomes the presumption of access if it shows “that the interest in secrecy outweighs the

 presumption.” In re Avandia Marketing, 924 F.3d at 672 (quoting Bank of Am., 800 F.2d at 344).

 The material needs to be “the kind of information that courts will protect and that disclosure will

 work a clearly defined and serious injury to the party seeking closure.” Id. (quoting Miller v. Ind.

 Hosp., 16 F.3d 549, 551 (3d Cir. 1994)).

        4.      Here, good cause to seal the documents identified above exists because the

 documents contain confidential information related to a license agreement and negotiations as well

 as Realtek’s counsel’s billing rates and time entries.

        5.      Realtek will comply with all applicable local rules and procedure regarding filing

 under seal through the Court’s CM/ECF system, including the requirement to file a redacted

 version of Plaintiff Realtek Semiconductor Corporation’s Opening Brief in Support of its Motion

 for Attorneys’ Fees and accompanying Declaration within seven (7) days of filing the sealed


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 documents.

         6.      Realtek, therefore, respectfully requests entry of the attached order permitting the

 filing of the documents identified above under seal.

                                  CONFIDENTIAL INFORMATION

         7.      Good cause exists to seal the documents because they contain sensitive, non-public

 information. Portions of the brief and declarations contain information related to the confidential

 license agreement between the parties and negotiations between the parties, as well as counsel’s billing rates

 and time entries that if made public would greatly injure Realtek and its counsel.

         8.      The information contained within the documents identified above is non-public,

 confidential information that amounts to competitively sensitive information.

         9.      Good cause exists as to the confidential treatment of the documents above.

                                             CONCLUSION

         10.     Realtek, therefore, respectfully requests entry of the attached Order sealing Plaintiff

 Realtek Semiconductor Corporation’s Opening Brief in Support of its Motion for Attorneys’ Fees

 and Declaration of Theodore J. Angelis in Support of Plaintiff Realtek Semiconductor

 Corporation’s Opening Brief in Support of its Motion for Attorneys’ Fees, including exhibits

 attached thereto.

         11.     Realtek will file a public version of the documents with only the confidential

 information redacted in compliance with Local Rule 5.1.3 and CM/ECF procedures.




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  Dated: December 26, 2024                       K&L GATES LLP

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